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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                    CASE No. 6:22-cr-9-WWB-GJK

JOSEPH ELLICOTT

                       NOTICE OF RELATED ACTION

     In accordance with Local Rule 1.07(c), I certify that the instant action:

☒    IS           related to pending or closed civil or criminal cases previously
                  filed in this court, or any other Federal or State court, or
                  administrative agency as indicated below:

                  United States v. Joel Micah Greenberg
                  Case No. 6:20-cr-97-GAP-LRH

☐    IS NOT       related to any pending or closed civil or criminal case filed with
                  this Court, or any other Federal or State court, or
                  administrative agency.
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      I further certify that I will serve a copy of this Notice of Related Action upon

each party no later than eleven days after appearance of the party.

      Dated: January 26, 2022
                                        Respectfully submitted,

                                        ROGER B. HANDBERG
                                        United States Attorney


                                   By: /s/ Roger B. Handberg
                                       ROGER B. HANDBERG
                                       United States Attorney
                                       Florida Bar No. 0241570
                                       400 W. Washington Street, Suite 3100
                                       Orlando, Florida 32801
                                       Telephone: (407) 648-7500
                                       Facsimile: (407) 648-7643
                                       E-mail:     Roger.Handberg@usdoj.gov
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U.S. v. JOSEPH ELLICOTT                             Case No. 6:22-cr-9-WWB-GJK

                             CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2022, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice

of electronic filing to the following:

       Robert Mandell, Esquire

       Joseph Zwick, Esquire




                                         /s/ Roger B. Handberg
                                         ROGER B. HANDBERG
                                         United States Attorney
                                         Florida Bar No. 0241570
                                         400 W. Washington Street, Suite 3100
                                         Orlando, Florida 32801
                                         Telephone: (407) 648-7500
                                         Facsimile: (407) 648-7643
                                         E-mail: Roger.Handberg@usdoj.gov
